                Case 2:09-cv-00310-JAM-KJM Document 13 Filed 07/14/09 Page 1 of 2


      1
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      8
          Attorney for NCO Financial Systems, Inc.

      9
                                    UNITED STATES DISTRICT COURT
     10
                                  EASTERN DISTRICT OF CALIFORNIA
     11

     12   DAVID HARDY,                                      ) Case No. 09 CV 00310-JAM-KJM
                                                            )
     13                                                     )
                                                            )
     14                        Plaintiff,                   ) STIPULATION TO DISMISS WITH
                                                            ) PREJUDICE
     15          vs.                                        )
                                                            )
     16   NCO FINANCIAL SYSTEMS, INC.,                      )
                                                            )
     17                                                     )
                               Defendant.                   )
     18                                                     )
                                                            )
     19

     20          Plaintiff, DAVID HARDY, filed the present action against NCO FINANCIAL
     21
          SYSTEMS, INC. (“NCO”) on February 3, 2009. NCO filed its responsive pleading on
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          March 9, 2009. The parties subsequently resolved the action in its entirety. As part of
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     24   said resolution, the parties agree to dismiss the entire action with prejudice.
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                                            Stipulation To Dismiss With Prejudice

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                Case 2:09-cv-00310-JAM-KJM Document 13 Filed 07/14/09 Page 2 of 2


      1
                 IT IS HEREBY STIPULATED by and between the parties to this action through
      2
          their designated counsel that the above captioned action is dismissed with prejudice
      3

      4   pursuant to Fed. R. Civ. Pro. 41.

      5

      6   Dated: 7/13/09                      KROHN & MOSS, LTD.

      7
                                              /s/ Michael S. Agruss
      8                                       Michael S. Agruss,
                                              Attorney for Plaintiff,
      9
                                              David Hardy
     10
          Dated: 7/13/09                      SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.P.
     11

     12
                                              /s/Debbie P. Kirkpatrick
     13                                       Debbie P. Kirkpatrick,
                                              Attorney for Defendant,
     14
                                              NCO Financial Systems, Inc.
     15

     16

     17   IT IS SO ORDERED.
     18
          Dated: July 13, 2009                         /s/ John A. Mendez___________________
     19                                                Hon. John A. Mendez
     20
                                                       United States District Judge

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                                          Stipulation To Dismiss With Prejudice

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